                                        Summary of Opinions

             Dr. King has provided no valid economic basis to conclude
             that off-label marketing of Neurontin indirectly influenced all,
             or substantially all, physicians prescribing Neurontin

             Dr. King’s analysis does not prove that any specific Neurontin
             prescription was caused by any alleged misrepresentation by
             Defendants

             Dr. King admittedly has not done an analysis specific to
             Mr. Smith and the facts of this case

             Dr. King’s opinions regarding the effect of off-label promotion
             of drugs generally and Neurontin specifically are flawed and
             unsupported
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                                         Off-Label Prescribing


             Off-label prescribing by physicians is common, accepted
             clinical practice

             Physicians often conclude that an off-label treatment is
             in best interests of patient

             Physicians need to treat patients for conditions where
             there is no FDA-approved drug or few treatment options

             New medical discoveries outpace FDA approval process

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           Factors Influencing Off-Label Prescribing

             Patient-specific factors
                – Contraindications
                – Side effect profile
                – Response to other treatments
             Physician-specific factors
                – Positive experience with drug or similar drugs for off-label use
                – Physicians receive information about off-label use from many
                  sources
             Neurontin-specific factors
                – Lack of drug-drug interactions and contraindications
                – Demonstrated efficacy for off-label uses
                – 2002 approval for treating PHN, a type of neuropathic pain
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                                  Flaws in Dr. King’s Analysis

             Dr. King has not performed a valid causation analysis
                – Correlation vs. Causation
             Dr. King’s reliance on general pharmaceutical literature is
             misplaced and doesn’t support specific conclusions about
             Neurontin
             Claim that effects of off-label marketing of Neurontin
             would continue virtually unabated after promotion is
             terminated is unsupported
             Dr. King’s claim about Defendants’ marketing
             expenditures vs. costs of research and development
             is flawed
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